Case 15-58207-jwc       Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23          Desc Main
                                 Document      Page 1 of 16



                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                             :       CHAPTER 7
                                                   :
STEPHANIE LEIGH FICKLE,                            :
aka STEPHANIE L. STALVEY,                          :
                                                   :       CASE NO. 15-58207-JWC
         Debtor.                                   :
                                                   :

   MOTION FOR ORDER AUTHORIZING SETTLEMENT WITH DEBTOR AND
 CHRISTOPHER ALAN FICKLE UNDER RULE 9019 OF THE FEDERAL RULES OF
                     BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Stephanie Leigh Fickle (“Ms. Fickle”), by and through the

undersigned counsel, and files his Motion for Order Authorizing Settlement with Debtor and

Christopher Alan Fickle under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Settlement Motion”). In support of the Settlement Motion, Trustee respectfully shows the

Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy

Procedure. This Settlement Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                         Background

                             a. General Background Information

         2.    On May 2, 2015 (the “Petition Date”), Ms. Fickle filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as



15839904v1
Case 15-58207-jwc        Doc 34     Filed 11/18/20 Entered 11/18/20 12:04:23         Desc Main
                                   Document      Page 2 of 16



amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 15-58207-JWC (the “Bankruptcy Case”).

        3.       Trustee was thereafter appointed the duly acting Chapter 7 trustee in the

Bankruptcy Case.

        4.       Ms. Fickle and Christopher Alan Fickle (“Mr. Fickle”) were married on the

Petition Date.

        5.       On the Petition Date, Ms. Fickle and Mr. Fickle were the owners of record of a

certain unimproved real property with a common addresses of 9832 Georgia Highway 193,

Chickamauga, Walker County, Georgia 30707 (the “Property”). Ms. Fickle scheduled the

Property with a value of $25,000.00 and claimed an exemption (the “Exemption”) in it in the

amount of $4,050.00. [Doc. No. 24 at pages 3 and 9].

        6.       On the Petition Date, Ms. Fickle’s interest in the Property was property of the

Bankruptcy Estate. See 11 U.S.C. § 541 (2015).

        7.       On September 11, 2018, Ms. Fickle filed a complaint against Mr. Fickle seeking a

divorce in the Superior Court of Cherokee County, State of Georgia (Civil Action File No. 18-

CVE-1643, the “Divorce Action”).

        8.       Also on September 11, 2018, Ms. Fickle and Mr. Fickle entered into a Settlement

Agreement (the “Divorce Agreement”) in the Divorce Action whereby Ms. Fickle and Mr.

Fickle agreed that the Property would be conveyed by Ms. Fickle to Mr. Fickle through a

quitclaim deed within ten (10) days of the Divorce Agreement.

        9.       On January 23, 2020, Trustee filed a complaint (the “Complaint”) against Mr.

Fickle, Ms. Fickle, and Dara K. Betts (Ms. Fickle’s divorce attorney) and initiated the adversary



                                                -2-
15839904v1
Case 15-58207-jwc          Doc 34      Filed 11/18/20 Entered 11/18/20 12:04:23                  Desc Main
                                      Document      Page 3 of 16



proceeding styled as Hays v. Fickle, et al. (Adv. Pro. No. 20-6015-JWC) (the “Adversary

Proceeding”), in which Trustee is seeking, among other things, a judgment against Mr. Fickle,

Ms. Fickle, and Dara K. Betts for willful violations of the automatic stay; and against Mr. Fickle

under 11 U.S.C. §§ 549, 550, and 551 to avoid, preserve, and recover any interest in the Property

transferred through the Divorce Settlement Agreement.

        10.      Ms. Fickle, Mr. Fickle, and Dara K. Betts (Ms. Fickle’s divorce attorney) have

answered the Complaint, denying Trustee’s claims asserted against them in the Adversary

Proceeding (the “Adversary Disputes”).

                                              b. Filed Claims

        11.      The total of the filed claims against the Bankruptcy Estate is $13,409.12, all of

which is claimed as non-priority, general unsecured.

                                              The Settlement

        12.      Following negotiations, Trustee, Ms. Fickle, and Mr. Fickle (collectively, the

“Parties”) have reached an agreement to resolve the Adversary Disputes. In this regard, the

Parties have entered into a Settlement Agreement (the “Settlement Agreement”). Trustee

attaches a copy of the Settlement Agreement as Exhibit “A” to this Settlement Motion.

Significant terms of the Settlement Agreement are as follows:1

                     a. Ms. Fickle and Mr. Fickle agree and affirm that any Transfer of the
                        Property arising out of the Divorce Agreement, if any, is void, ab initio,
                        and any interest in the Property transferred, or attempted to be transferred
                        through the Divorce Agreement is restored to the Bankruptcy Estate. For
                        the avoidance of doubt, Ms. Fickle and Mr. Fickle stipulate and agree that
                        the Bankruptcy Estate holds a one-half interest in the Property, and Ms.
                        Fickle and Mr. Fickle shall execute any documents necessary to ensure
                        that the Bankruptcy Estate holds a one-half interest in the Property.

1
         The following is a summary of the Settlement Agreement and is not intended to be comprehensive. To the
extent that anything in this summary is contrary to the terms of the Settlement Agreement, the Settlement
Agreement controls.



                                                     -3-
15839904v1
Case 15-58207-jwc           Doc 34       Filed 11/18/20 Entered 11/18/20 12:04:23                    Desc Main
                                        Document      Page 4 of 16




                 b.       Within sixty (60) days of the date of entry of the Settlement Approval
                          Order2 (the “60-Day Period”), Mr. Fickle and Ms. Fickle shall have an
                          exclusive option (the “60-Day Option”) to purchase the Bankruptcy
                          Estate’s one-half interest in the Property for the agreed sum of thirty
                          thousand dollars ($30,000.00) (the “$30,000.00 Purchase Price”). If Ms.
                          Fickle and Mr. Fickle pay the $30,000.00 Purchase Price in good funds to
                          Trustee during the 60-Day Period, the one-half interest of the Bankruptcy
                          Estate in and to the Property shall be deemed abandoned. If Ms. Fickle
                          and Mr. Fickle do not pay the $30,000.00 Purchase Price in good funds to
                          Trustee during the 60-Day Period, then Trustee is authorized to market
                          and sell the Property to third parties in accordance with the remainder of
                          the Settlement Agreement.

                 c.       Upon expiration of the 60-Day Option, and provided that Mr. Fickle and
                          Ms. Fickle do not pay the $30,000.00 Purchase Price to Trustee in good
                          funds during the 60-Day Period in accordance with Section 2.3.1 of the
                          Settlement Agreement, Mr. Fickle authorizes Trustee to sell his one-half
                          interest in the Property under 11 U.S.C. § 363(h) and waives any
                          requirement that Trustee obtain a judgment in this regard. Upon the
                          closing of a sale of the Property by Trustee, following appropriate
                          authority by the Bankruptcy Court, Mr. Fickle and the Bankruptcy Estate
                          shall each be entitled to one-half of the net sale proceeds resulting from a
                          sale of the Property after payment of all costs of sale, including, without
                          limitation, a reasonable broker’s commission, all unpaid ad-valorem real
                          property taxes, water and sewer liens, all validly perfected security
                          interests and liens against the Property, and any other miscellaneous costs
                          associated with the sale of the Property. For the avoidance of doubt, any
                          lien against the Property that arises out of an obligation for which Ms.
                          Fickle is not personally obligated (a “Non-Debtor Lien”) shall not be
                          included in the calculation of the net sale proceeds, and such a Non-
                          Debtor Lien shall be paid from Mr. Fickle’s one-half interest in the net
                          sale proceeds and shall not be paid by the Bankruptcy Estate.

                 d.       Ms. Fickle waives, releases, and forever discharges any and all
                          obligations, if any, that the Bankruptcy Estate may otherwise have to pay
                          to Ms. Fickle on account of exemptions asserted by or on behalf of Ms.
                          Fickle, if any, in the Property. For the avoidance of doubt, it is the intent
                          of the Parties that Ms. Fickle waives her right to be paid on account of the
                          Exemption and that any proceeds resulting from a sale of the Property or
                          the $30,000.00 Purchase Price shall be free and clear of any claims of Ms.
                          Fickle, if any, and shall be available for Trustee to distribute in accordance
                          with 11 U.S.C. § 726.


2
        Capitalized terms not defined in this Settlement Motion shall have the meanings ascribed to them in the
Settlement Agreement.


                                                       -4-
15839904v1
Case 15-58207-jwc       Doc 34     Filed 11/18/20 Entered 11/18/20 12:04:23            Desc Main
                                  Document      Page 5 of 16



               e.     Effective upon the Settlement Approval Order becoming a final order, and
                      except for the rights, duties, and obligations created or preserved under the
                      Settlement Agreement, Trustee releases, acquits, and forever discharges
                      Mr. Fickle from any and all Claims (as defined in Section 9 of the
                      Settlement Agreement) of any kind, character, or nature whatsoever,
                      known or unknown, fixed or contingent, that Trustee may have or claim to
                      have against Mr. Fickle prior to the Effective Date.

               f.     Effective upon the Settlement Approval Order becoming a final order, and
                      except for the rights, duties, and obligations created or preserved under the
                      Settlement Agreement, Mr. Fickle releases, acquits, and forever discharges
                      Trustee and the Bankruptcy Estate and each and every past and present
                      agent, servant, employee, representative and attorney of Trustee or the
                      Bankruptcy Estate from any and all Claims (as defined in Section 9 of the
                      Settlement Agreement) of any kind, character or nature whatsoever,
                      known or unknown, fixed or contingent, that Mr. Fickle may have or
                      claim to have against Trustee or the Bankruptcy Estate prior to the
                      Effective Date.

               g.     Within ten (10) business days of the Settlement Approval Order becoming
                      a final order, the Parties shall file a stipulation dismissing with prejudice
                      the Adversary Proceeding, including all claims raised therein, except as
                      specifically set forth in the Settlement Agreement. For the avoidance of
                      doubt, the Parties stipulate and agree that the dismissal of the Adversary
                      Proceeding shall have no impact on any rights, duties, or obligations
                      created or preserved under the Settlement Agreement.

                                        Relief Requested

        13.    By this Settlement Motion, Trustee requests that the Court approve the Settlement

Agreement between the Parties.

                                         Basis for Relief

        14.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:


                                                -5-
15839904v1
Case 15-58207-jwc        Doc 34     Filed 11/18/20 Entered 11/18/20 12:04:23            Desc Main
                                   Document      Page 6 of 16



        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation; (b) the difficulties, if any, to be
        encountered in the matter of collection; (c) the complexity of the litigation
        involved, and the expense, inconvenience and delay necessarily attending it; (d)
        the paramount interest of the creditors and a proper deference to their reasonable
        views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).

        15.    The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

        16.    Based on the filed claims against the Bankruptcy Estate, the proposed settlement

will allow Trustee to make a meaningful distribution to the holders of timely filed general

unsecured claims in this Bankruptcy Case. It will also allow Trustee to avoid the costs and risks

of proceeding with the Adversary Proceeding and possibly, avoid the costs of marketing and

selling the Property through a licensed real estate broker or auctioneer, if Mr. Fickle and Ms.

Fickle exercise the 60-Day Option.

        17.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.

        WHEREFORE, Trustee respectfully requests that the Court enter an Order (i) granting

this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate


                                                -6-
15839904v1
Case 15-58207-jwc       Doc 34     Filed 11/18/20 Entered 11/18/20 12:04:23           Desc Main
                                  Document      Page 7 of 16



the terms of the Settlement Agreement; and (iii) granting to the parties such other and further

relief as the Court deems just and appropriate.

        Respectfully submitted, this 18th day of November, 2020.

                                                        ARNALL GOLDEN GREGORY LLP
                                                        Attorneys for Trustee

                                                        By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                              Michael J. Bargar
Atlanta, GA 30363                                            Georgia Bar No. 645709
(404) 873-8500                                               michael.bargar@agg.com




                                                  -7-
15839904v1
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 8 of 16




                             EXHIBIT “A” FOLLOWS




15839904v1
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 9 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 10 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 11 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 12 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 13 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 14 of 16
Case 15-58207-jwc   Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23   Desc Main
                             Document      Page 15 of 16
Case 15-58207-jwc       Doc 34    Filed 11/18/20 Entered 11/18/20 12:04:23             Desc Main
                                 Document      Page 16 of 16




                                 CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Authorizing Settlement with
Debtor and Christopher Alan Fickle under Rule 9019 of the Federal Rules of Bankruptcy
Procedure by first class United States mail on the following entities at the addresses stated:

Office of the United States Trustee                  Brian S. Limbocker
362 Richard B. Russell Building                      Limbocker Law Firm, LLC
75 Ted Turner Drive, SW                              Bldg. 100 - Suite 140
Atlanta, GA 30303                                    2230 Towne Lake Parkway
                                                     Woodstock, GA 30189
S. Gregory Hays
Hays Financial Consulting, LLC                       Christopher L. McCormick
Suite 555                                            The McCormick Firm, PC
2964 Peachtree Road                                  Suite 400
Atlanta, GA 30305                                    105 Pilgrim Village Drive
                                                     Cumming, GA 30040
Brian R. Cahn
Brian R. Cahn & Associates, LLC                      T. Ryan Mock, Jr.
P.O. Box 3696                                        Hawkins & Parnell, LLP
222 E. Main Street                                   4000 SunTrust Plaza
Cartersville, GA 30120                               303 Peachtree Street
                                                     Atlanta, GA 30308-3243

                                                     Stephanie Leigh Fickle
                                                     1619 Pine Creek Way
                                                     Woodstock, GA 30188

        This 18th day of November, 2020.


                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709
                                                            michael.bargar@agg.com




15839904v1
